16-13607-smb       Doc 184     Filed 06/20/17 Entered 06/20/17 12:12:16          Main Document
                                            Pg 1 of 11



UNITED STATES BANKRUPTCY COURT                              HEARING DATE: June 27, 2017
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                          :
In re                                                     : Case No. 16-13607 (MKV)
                                                          :
WONDERWORK, INC.,                                         : (Chapter 11)
                                                          :
                                      Debtor.             :
                                                          :
----------------------------------------------------------x

                  OBJECTION OF THE UNITED STATES TRUSTEE TO
                   APPLICATION SEEKING ALLOWANCE OF FIRST
                  INTERIM COMPENSATION AND REIMBURSEMENT
                 OF OUT-OF-POCKET EXPENSES FOR PROFESSIONAL
                           RETAINED BY THE DEBTOR

TO THE HONORABLE: MARY KAY VYSKOCIL
UNITED STATES BANKRUPTCY JUDGE

        William K. Harrington, the United States Trustee for Region 2 (the “United States

Trustee”), hereby submits this objection 1 (the “Objection”) to the Application Seeking Allowance

of First Interim Compensation and Reimbursement of Out-of-Pocket Expenses for Professional

Retained by the Debtor (the “Application”) (ECF Doc. No. 167) for the period indicated below.


               APPLICANT                       PERIOD             FEES           EXPENSES
Carter Ledyard & Milburn LLP                   12/1/16-        $1,141,154.00      $17,238.03
Counsel for Debtor                             4/30/17
Total                                                          $1,141,154.00      $17,238.03




                                         BACKGROUND


        1
        The United States Trustee has had preliminary discussion with the applicant and is
prepared to continue efforts to resolve the objections set forth herein.
16-13607-smb       Doc 184      Filed 06/20/17 Entered 06/20/17 12:12:16             Main Document
                                             Pg 2 of 11


A.     General Information

       1.      On December 29, 2016 (the “Petition Date”), WonderWork, Inc. (“WonderWork”

or “Debtor”) filed a petition for relief under chapter 11, title 11, United States Code (the

“Bankruptcy Code”). ECF Doc. No. 1.

       2.      WonderWork was founded in November 2010 to help provide life-changing

surgeries for children and adults who are blind, severely burned or crippled with clubfoot. Instead

of sending American doctors on missions, WonderWork empowers local doctors through financial

aid, free training and free equipment. WonderWork has 61 partners in 42 countries worldwide and

worked to provide more than 130,000 surgeries for children and adults during 2016. Declaration

of Brian Mullaney; ¶ 7. ECF Doc. No. 2.

       3.      On May 10, 2017, the Court entered an Order approving the appointment of Jason

Lilien, Esq. as the Chapter 11 Examiner in the case.

                                           Legal Standard

       4.      Section 330 of the Bankruptcy Code, 11 U.S.C. § 330, states in pertinent part, that a

court may award to professionals retained pursuant to 11 U.S.C. § 327:

        (1) reasonable compensation for actual, necessary services rendered by such . .
. attorney, . . . and by any paraprofessional persons employed by such . . . attorney
based on the nature, the extent, and the value of such services, the time spent on such
services, and the cost of comparable services other than in a case under this title, and

       (2) reimbursement for actual, necessary expenses.

       11 U.S.C. § 330. In calculating legal fees, the Supreme Court has stated that “‘[t]he most

useful starting point for determining the amount of a reasonable fee is the number of hours

reasonably expended on the litigation multiplied by a reasonable rate.’” In re Henry A. Szymczak,

246 B.R. 774, 779 (Bankr. D.N.J. 2000) (citing Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)).
                                                   1
16-13607-smb        Doc 184     Filed 06/20/17 Entered 06/20/17 12:12:16              Main Document
                                             Pg 3 of 11


This approach is commonly referred to as the lodestar method. There are a number of factors that

may warrant a departure from the lodestar method. For example, the court may consider the time

and labor required, the skill requisite to perform the legal service property, the customary fee, the

amount involved and the results obtained, the experience, reputation and ability of the attorneys,

and awards in similar cases. Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th

Cir. 1974).

       5.      The applicant bears the burden of proof in all fee matters. In re Recycling

Industries, Inc., 243 B.R. 396, 401 (Bankr. D. Colo. 2000); In re Keene Corporation, 205 B.R. 690,

695 (Bankr. S.D.N.Y. 1997). Accord In re Sounds Distributing Corp., 122 B.R. 952, 956 (Bankr.

W.D. Pa. 1991) (“The burden of proof as to the reasonableness of the requested compensation rests

with the applicant”). The burden of proof to show entitlement to fees should “not be taken lightly,

especially given that every dollar expended on legal fees results in a dollar less that is available for

distribution to the creditors.” In re Spanjer Brothers, Inc., 191 B.R. 738, 747 (Bankr. N.D. Ill.

1996), citing In re Pettibone Corp., 74 B.R. 293, 294 (Bankr. N.D. Ill. 1987).

       6.      The Bankruptcy Court has the duty to independently examine the reasonableness of

the fees requested by retained professionals, notwithstanding the absence of objections by the

trustee, debtor or creditor. In re AutoParts Club, Inc., 211 B.R. 29, 33 (Bankr., 9th Cir. 1997),

citing In re Busy Beaver Building Centers, Inc., 19 F.3d 833, 841 (3d Cir. 1994).

       7.      With respect to the interim fee applications, interim fee awards are discretionary,

and are subject to reexamination and adjustment during the course of the case. In re Stable Mews

Assocs., 778 F.2d 121, 123 n.3 (2d Cir. 1985) (interim awards are interlocutory and subject to full




                                                   2
16-13607-smb       Doc 184      Filed 06/20/17 Entered 06/20/17 12:12:16            Main Document
                                             Pg 4 of 11


review and adjustment at a later date). Any interim fees awarded or paid under 11 U.S.C. 331, are

payable on account and are subject to the Court’s review at the time of final fee applications.

       8.      Pursuant to Section 330 of the Bankruptcy Code, the applicants are entitled to

“reasonable compensation” for their services in this case. To determine “reasonable

compensation,” Bankruptcy Courts in the Southern District of New York are guided by, among

other things, the Amended Guidelines for Fees and Disbursements for Professionals in Southern

District of New York Bankruptcy Cases dated January 29, 2013 (Administrative Order M-447)(the

“Amended Guidelines”) and the United States Trustee Guidelines For Reviewing Applications For

Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 (the “United States

Trustee Guidelines”).

                                           OBJECTION

Carter Ledyard & Milburn LLP

       9.      The United States Trustee respectfully requests that this Court reduce any fees

awarded to this applicant by a percent reduction pending the final resolution of this case. The

results that will be achieved serve as an important factor in determining the success of the efforts

of this applicant. Because these results are still unknown, the United States Trustee believes that a

percentage reduction is proper at this time. See, e.g., In re Bank of New England Corp., 134 B.R.

450, 459 (Bankr. D. Mass. 1991), aff’d, 142 B.R. 584 (D.Mass. 1992) (because of the difficulty in

determining whether services were actual and necessary when reviewing interim applications,

bankruptcy courts routinely require hold backs until the end of the case).




                                                  3
16-13607-smb       Doc 184      Filed 06/20/17 Entered 06/20/17 12:12:16            Main Document
                                             Pg 5 of 11


       10.     The applicant has advised the United States Trustee that it intends to defer its

request for prepetition services (in the amount of $99,508.83) for purposes of this interim fee

application.

       11.     The United States Trustee objects to the lumped, vague, and mismatched time

entries in the amounts of $92,048.50, $1,369.50 and $2,736.25, respectively (totaling $96,154.25),

as set forth in Exhibit A attached hereto. As this Court’s Amended Guidelines provide, services

should be noted in detail, with each service showing a separate time entry and not combined or

“lumped” together. Amended Guidelines, A(4)(vii). Furthermore, time entries should be given

sufficient detail to identify the parties to and the nature of the communication. Id. and also

A(4)(iii). Here, there were an extraordinary number of lumped time entries.

       12.     The United States has no objection to the request for reimbursement of expenses.

       WHEREFORE, the United States Trustee respectfully requests that the request for

compensation and reimbursement of expenses be allowed subject to the conditions noted above

and for such other and further relief as the Court deems appropriate.

Dated: New York, New York
       June 20, 2017

                                                        Respectfully Submitted,

                                                        WILLIAM K. HARRINGTON
                                                        UNITED STATES TRUSTEE

                                              By:       /s/ Brian S. Masumoto
                                                        Brian S. Masumoto
                                                        Trial Attorney
                                                        201 Varick Street, Room 1006
                                                        New York, New York 10014
                                                        Tel. No. (212) 510-0500



                                                    4
16-13607-smb   Doc 184   Filed 06/20/17 Entered 06/20/17 12:12:16   Main Document
                                      Pg 6 of 11




                           EXHIBIT A
                                            16-13607-smb      Doc 184              Filed 06/20/17 Entered 06/20/17 12:12:16                                                          Main Document
                                                                                        Carter Ledyard
                                                                                                   Pg Milburn
                                                                                                       7 of 11LLP
  PROJECT        DATE            TIMEKEEPER       HOURS        AMOUNT                                                      DESCRIPTION                                                CLASSIF   EXP/FEE   REDUCTION COMMENT
Case Adminis 12/1/2016    Mann, Pamela A.                 1       $700.00 Attention to numerous e-mails and drafts regarding bankruptcy; related discussions with team.              Partner  F                350.00 Lumped
Case Adminis 12/2/2016    Mann, Pamela A.                 2     $1,400.00 Review draft checklist of bankruptcy next steps and information needed for meeting with client;            Partner  F              1,050.00 Lumped
                                                                          discussion with team regarding same, next steps.
Case Adminis 12/7/2016    Ruffi, Dylan L.                 4     $1,140.00 Conducted further research on the treatment of restricted funds in bankruptcy; corresponded with Mr.       Associate   F            997.50 Lumped
                                                                          Cahn regarding same.
Case Adminis 12/7/2016    Trivigno, Leonardo              1       $475.00 Revise draft exhibits for first day affidavit; discuss next steps with Mr. Cahn.                           Counsel     F            237.50 Lumped
Case Adminis 12/12/2016   Ruffi, Dylan L.                 2       $570.00 Met with Mr. Trivigno to set plan for first day affidavit filing and related motions; began formatting     Associate   F            427.50 Lumped
                                                                          document.
Case Adminis 12/13/2016   Cahn, Aaron R.             0.7          $472.50 Correspond with Ms. Mann regarding restraining notice; review client questions regarding new               Counsel     F            135.00 Lumped
                                                                          donations and raise issue regarding efficacy of restraining notice.
Case Adminis 12/23/2016   Cahn, Aaron R.                  5     $3,375.00 Continue prepare documents for bankruptcy filing; review client changes to documents and further           Counsel     F          3,037.50 Lumped
                                                                          revise.
Case Adminis 1/3/2017     Ruffi, Dylan L.                 1       $285.00 Drafted letters to Judge Kern, Ballard Spahr, and Pennsylvania court of common pleas to provide notice     Associate   F            142.50 Lumped
                                                                          of bankruptcy; sent to Ms. Wallace for review.
Case Adminis 1/5/2017     Mann, Pamela A.            1.3          $942.50 Attend first day hearing and related discussion with opposing counsel; U.S. Trustee.                       Partner     F            580.00 Lumped
Case Adminis 1/10/2017    Ruffi, Dylan L.            1.6          $456.00 Conference call with client regarding restricted funds and new spreadsheets; team debriefing.              Associate   F            313.50 Lumped
Case Adminis 1/10/2017    Ruffi, Dylan L.            2.4          $684.00 Conference call with client regarding restricted funds; complete review of unrestricted funds and          Associate   F            541.50 Lumped
                                                                          related spreadsheets.
Case Adminis 1/11/2017    Ruffi, Dylan L.            0.8          $228.00 Edited Excel file attachment to WW's schedules; corresponded with Mr. Trivigno regarding same.             Associate   F             85.50 Lumped
Case Adminis 1/12/2017    Cahn, Aaron R.             1.6        $1,120.00 Review final schedules and statement of affairs; confer with Mr. Trivigno and Mr. Ruffi regarding filing   Counsel     F            770.00 Lumped
                                                                          and uploading.
Case Adminis 1/12/2017    Cahn, Aaron R.             2.4        $1,680.00 Prepare for and attend settlement meeting with Ms. Mann; B. Mintz and P. Gordon at HMS counsel             Counsel     F          1,330.00 Lumped
                                                                          office.
Case Adminis 1/16/2017    Mann, Pamela A.            0.8          $580.00 Discussions with team regarding settlement options; review e-mail from Mr. Trivigno regarding              Partner     F            217.50 Lumped
                                                                          procedures, issues in bankruptcy proceeding, appeal.
Case Adminis 2/7/2017     Mann, Pamela A.            1.5        $1,087.50 Draft language related to restricted fund issue in motion opposing discovery; related e-mails and          Partner     F            725.00 Lumped
                                                                          discussion with team.
Case Adminis 2/10/2017    Mann, Pamela A.            2.5        $1,812.50 Review materials previously submitted to Charities Bureau and related in preparation for meeting with      Partner     F          1,450.00 Lumped
                                                                          Charities Bureau; draft e-mails analyzing same for team.
Case Adminis 2/16/2017    Mann, Pamela A.            1.8        $1,305.00 Attend status conference; related discussion with client, team while in court.                             Partner     F            942.50 Lumped
Case Adminis 2/17/2017    Ruffi, Dylan L.            0.6          $171.00 Correspondence with K. Lazarus and D. Greenwood regarding creditor mailings and related issues;            Associate   F             28.50 Lumped
                                                                          conferred with Mr. Cahn regarding same.
Case Adminis 2/28/2017    Mann, Pamela A.            1.2          $870.00 Review draft monthly report and make revisions; discussion with Mr. Trivigno regarding same, next          Partner     F            507.50 Lumped
                                                                          steps; review further draft and attention to numerous related e-mails.
Case Adminis 3/6/2017     Mann, Pamela A.            0.8          $580.00 Attention to e-mails and attachments regarding updating schedules; discussion with Mr. Cahn                Partner     F            217.50 Lumped
                                                                          regarding creditor meeting; discussion with Mr. Steckel regarding board materials, related issues.
Case Adminis 3/6/2017     Steckel, Jeremy S.         4.1        $1,537.50 Review board materials; discuss same with and request follow up materials from H. Fuchs; discuss           Associate   F          1,350.00 Lumped
                                                                          same with Ms. Mann.
Case Adminis 3/7/2017     Steckel, Jeremy S.           1          $375.00 E-mails and telephone calls with H. Fuchs regarding operational issue, IRS notice; research same.          Associate   F            187.50 Lumped
Case Adminis 3/16/2017    Trivigno, Leonardo         0.9          $450.00 Review and revise February Monthly Operating Report; confer with Mr. Ruffi regarding same.                 Counsel     F            200.00 Lumped
Case Adminis 3/17/2017    Ruffi, Dylan L.            0.8          $228.00 Redacted documents for production in February monthly operating report; coordinated same with Mr.          Associate   F             85.50 Lumped
                                                                          Borenstein; reported to Mr. Trivigno.
Case Adminis 3/20/2017    Ruffi, Dylan L.            5.4        $1,539.00 Reviewed donor appeals for FY2017; conferred with Mr. Steckel regarding same; prepared documents           Associate   F          1,396.50 Lumped
                                                                          for redaction and met with Mr. Borenstein regarding same; reported to Mr. Steckel.
Case Adminis 3/22/2017    Mann, Pamela A.            1.5        $1,087.50 E-mails with client regarding document production, next steps, finalizing retention of auditor, etc.;      Partner     F            725.00 Lumped
                                                                          discussion with Mr. Steckel regarding same.
Case Adminis 3/28/2017    Mann, Pamela A.            0.8          $580.00 Review restricted gift materials and related discussions with Mr. Steckel; attention to related e-mails.   Partner     F            217.50 Lumped

Case Adminis 4/11/2017    Trivigno, Leonardo         4.3        $2,150.00 Review and revise letter in response to HMS discovery letter; draft and revise agenda; draft oral          Counsel     F          1,900.00 Lumped
                                                                          argument outline.
Case Adminis 4/20/2017    Mann, Pamela A.            1.8        $1,305.00 Communicate with counsel for HMS regarding revisions to examiner order; e-mails and calls with             Partner     F            942.50 Lumped
                                                                          examiner candidates; attention to e-mails from audit firm regarding retention papers.
Case Adminis 4/21/2017    Mann, Pamela A.            2.8        $2,030.00 Attention to numerous e-mails regarding examiner order, accountant motion, discovery issues,               Partner     F          1,667.50 Lumped
                                                                          financial analysis, communications with Court, opposing counsel, and US Trustee regarding examiner
                                                                          next steps; review examiner order issued by court and discussion with team, client regarding next
                                                                          steps; attention to e-mails regarding cash management order, trustee order, etc.
Case Adminis 4/22/2017    Steckel, Jeremy S.         2.5          $937.50 E-mail correspondence with WonderWork and CLM teams regarding court order regarding restricted             Associate   F            750.00 Lumped
                                                                          and unrestricted fund balances; e-mails with B. Mullaney regarding internal systems.




                                                                                                                 1
                                           16-13607-smb      Doc 184             Filed 06/20/17 Entered 06/20/17 12:12:16                                                             Main Document
                                                                                      Carter Ledyard
                                                                                                 Pg Milburn
                                                                                                     8 of 11LLP
 PROJECT        DATE              TIMEKEEPER     HOURS        AMOUNT                                                   DESCRIPTION                                                     CLASSIF        EXP/FEE   REDUCTION COMMENT
Case Adminis 4/23/2017   Steckel, Jeremy S.         1.6         $600.00 Telephone call with Mr. Peters regarding restricted fund balances; conference call with B. Mullaney, H.       Associate   F                412.50 Lumped
                                                                        Fuchs, D. Greenwood and K. Lazarus to discuss restricted fund balances and presentation; e-mail CLM
                                                                        team to summarize same.
Case Adminis 4/24/2017   Steckel, Jeremy S.         3.5       $1,312.50 Review K. Lazarus responses regarding restricted funds donor backup; meet with Mr. Peters and Ms.             Associate   F               1,125.00 Lumped
                                                                        Mann to discuss same; telephone call with K. Lazarus to discuss same; discuss total balances to be
                                                                        included in letter to court.
Case Adminis 4/24/2017   Steckel, Jeremy S.         6.3       $2,362.50 Draft letter to HMS, New York Attorney General and U.S. Trustee setting forth restricted and                  Associate   F               2,175.00 Lumped
                                                                        unrestricted fund balances and explanatory notes regarding same; discuss same with Ms. Mann;
                                                                        telephone calls with H. Fuchs to discuss same.
Case Adminis 4/24/2017   Mann, Pamela A.            1.5       $1,087.50 Discussions with Mr. Steckel regarding restricted/unrestricted fund schedule; attention to numerous e-        Partner     F                725.00 Lumped
                                                                        mails and review documents regarding same.
Case Adminis 4/24/2017   Peters, Justin L           3.5       $1,085.00 Reviewed financial documents; discussions with Mr. Steckel regarding same.                                    Associate   F                930.00 Lumped
Case Adminis 4/26/2017   Mann, Pamela A.            0.8         $580.00 Attention to numerous e-mails with client regarding proper interpretation of examiner order, next             Partner     F                217.50 Lumped
                                                                        steps; e-mails regarding whether various forms of correspondence comply with cash management
                                                                        order and related discussion with Mr. Trivigno.
Case Adminis 4/27/2017   Mann, Pamela A.            2.3       $1,667.50 Prepare presentation for board meeting regarding approval of budget and participate in board                  Partner     F               1,305.00 Lumped
                                                                        meeting, field board questions, etc.; attention to numerous e-mails regarding finalizing budget, next
                                                                        steps.
Case Adminis 4/28/2017   Steckel, Jeremy S.         0.8         $300.00 Attend to e-mails from CLM and WonderWork teams regarding restricted/unrestricted fund balances               Associate   F                112.50 Lumped
                                                                        set forth in letter to US Trustee; review and comment to e-mails from Mr. Trivigno to HMS regarding
                                                                        remaining discovery requests.
Fee / Employ 3/9/2017    Mann, Pamela A.            1.2         $870.00 Calls with two audit firms under consideration by client regarding process, next steps; attention to e-       Partner     F                507.50 Lumped
                                                                        mails with press firm.
Disputes With1/3/2017    Cahn, Aaron R.             3.3       $2,310.00 Receive client correspondence; draft response and confer with team regarding hearing and litigation           Counsel     F               1,960.00 Lumped
                                                                        strategy.
Disputes With1/29/2017   Ruffi, Dylan L.            0.7         $199.50 Researched for facts countering allegations in motion to appoint a trustee; reported to Ms. Wallace           Associate   F                 57.00 Lumped
                                                                        regarding same.
Disputes With1/29/2017   Ruffi, Dylan L.            3.2         $912.00 Reviewed SLC report for trustee opposition; reviewed related news publications; reported findings to          Associate   F                769.50 Lumped
                                                                        Ms. Wallace and Ms. Mann regarding same.
Disputes With1/29/2017   Ruffi, Dylan L.            1.5         $427.50 Reviewed case law detailing res judicata and collateral estoppel in New York; reported to Ms. Wallace         Associate   F                285.00 Lumped
                                                                        and Ms. Mann.
Disputes With2/1/2017    Gerson, Anne K.            2.4       $1,140.00 Review articles and documents concerning proposed and abandoned merger between Smile Train and                Counsel     F                902.50 Lumped
                                                                        Operation Smile; research on settlement payment characterization.
Disputes With2/1/2017    Wallace, Judith                 5    $2,875.00 For motion in opposition to trustee, locate and review Computer Associates case law and news articles;        Partner     F               2,587.50 Lumped
                                                                        call with Mr. Ruffi regarding papers needed for motion.
Disputes With2/3/2017    Trivigno, Leonardo         5.8       $2,900.00 Continue draft opposition to motion for Rule 2004 discovery; confer and e-mail with Mr. Cahn                  Counsel     F               2,650.00 Lumped
                                                                        regarding same.
Disputes With2/7/2017    Mann, Pamela A.            2.3       $1,667.50 Draft summary for client of information and declarations needed for opposition to motion for trustee;         Partner     F               1,305.00 Lumped
                                                                        confer with team regarding same; attention to related e-mails.
Disputes With2/8/2017    Ruffi, Dylan L.            0.6         $171.00 Reviewed opposition to motion for 2004 examination; conferred with Mr. Trivigno regarding same.               Associate   F                 28.50 Lumped

Disputes With2/9/2017    Mann, Pamela A.            2.8       $2,030.00 Review e-mails, draft letter regarding IP infringement, drafts of declarations and make changes; e-           Partner     F               1,667.50 Lumped
                                                                        mails and calls with team.
Disputes With2/14/2017   Mann, Pamela A.            1.5       $1,087.50 Attention to e-mails regarding next steps in finalizing draft of trustee motion; call with client regarding   Partner     F                725.00 Lumped
                                                                        his proposed changes to brief; discussion with team regarding finalizing same.
Disputes With2/22/2017   Ruffi, Dylan L.             12       $3,420.00 Drafted and revised declarations; conferred with Ms. Wallace; corresponded with K. Lazarus.                   Associate   F               3,277.50 Lumped
Disputes With2/22/2017   Wallace, Judith            4.5       $2,587.50 Review and revise brief to reflect additional comments from client and team; discussion with Mr. Ruffi        Partner     F               2,300.00 Lumped
                                                                        regarding same.
Disputes With2/24/2017   Cahn, Aaron R.             1.6       $1,120.00 Review, revise and finalize documents submitted in opposition to trustee motion; confer with Ms.              Counsel     F                770.00 Lumped
                                                                        Wallace.
Disputes With2/28/2017   Mann, Pamela A.            0.8         $580.00 Review final opposition brief, joint pretrial order; discussion with Ms. Wallace regarding evidentiary        Partner     F                217.50 Lumped
                                                                        hearing issues.
Disputes With3/1/2017    Ruffi, Dylan L.              1         $285.00 Reviewed discovery response; conferred with Mr. Trivigno regarding same.                                      Associate   F                142.50 Lumped
Disputes With3/1/2017    Steckel, Jeremy S.         2.2         $825.00 Review and comment to written response to discovery motion and discuss same with Mr. Trivigno;                Associate   F                637.50 Lumped
                                                                        attend to e-mails regarding document production.
Disputes With3/3/2017    Trivigno, Leonardo         2.1       $1,050.00 Final review of documents prior to production; review reply memorandum of law filed by HMS.                   Counsel     F                 800.00 Lumped
Disputes With3/3/2017    Ruffi, Dylan L.            4.5       $1,282.50 Prepared documents for production; reviewed bates stamped documents; conferred with Mr. Trivigno              Associate   F               1,140.00 Lumped
                                                                        regarding same.




                                                                                                                 2
                                            16-13607-smb      Doc 184            Filed 06/20/17 Entered 06/20/17 12:12:16                                                          Main Document
                                                                                      Carter Ledyard
                                                                                                 Pg Milburn
                                                                                                     9 of 11LLP
 PROJECT        DATE              TIMEKEEPER      HOURS        AMOUNT                                                 DESCRIPTION                                                   CLASSIF         EXP/FEE   REDUCTION COMMENT
Disputes With3/3/2017    Ruffi, Dylan L.             0.9         $256.50 Communications with K. Lazarus regarding additional declaration; reviewed additional declaration;         Associate   F                 114.00 Lumped
                                                                         conferred with Ms. Wallace regarding same.
Disputes With3/3/2017    Borenstein, Bill                 3      $825.00 Review briefs, conform cites, create case binder, index regarding same; prepare for attorney review,      Legal Assist F                687.50 Lumped
                                                                         brief e-mails, discussions regarding same.
Disputes With3/3/2017    Wallace, Judith             3.5       $2,012.50 Review briefs and record materials and prepare outline and points for oral argument; related              Partner     F                1,725.00 Lumped
                                                                         discussion with Ms. Mann.
Disputes With3/3/2017    Mann, Pamela A.             4.3       $3,117.50 Review case law, declarations and documents filed with trustee opposition papers, arbitration             Partner     F                2,755.00 Lumped
                                                                         transcript excerpts, HMS reply papers in preparation for oral argument on trustee motion; related
                                                                         discussion with Ms. Wallace.
Disputes With3/6/2017    Ruffi, Dylan L.                  4    $1,140.00 Researched various issues in relation to the reply memorandum of law; discussions with Ms. Wallace        Associate   F                 997.50 Lumped
                                                                         regarding same; reported findings to Ms. Wallace.
Disputes With3/6/2017    Dunn, Matthew               4.2       $2,415.00 Reviewed papers submitted to bankruptcy court in connection with motion to appoint a trustee;             Partner     F                2,127.50 Lumped
                                                                         reviewed related cases and law cited; met with Ms. Mann and Ms. Wallace to assist in preparation for
                                                                         oral argument.
Disputes With3/7/2017    Ruffi, Dylan L.             1.5         $427.50 Planned and prepared for meeting regarding discovery responses; meeting with team regarding same.         Associate   F                 285.00 Lumped

Disputes With3/7/2017    Ruffi, Dylan L.             2.9        $826.50 Reviewed additional donor declarations; conferred with Ms. Wallace and Ms. Mann; revised and edited        Associate   F                 684.00 Lumped
                                                                         declarations; corresponded with K. Lazarus and B. Mullaney regarding same.
Disputes With3/7/2017    Mann, Pamela A.             1.2         $870.00 Attention to e-mails regarding response to letter from HMS regarding their 2004 motion; meeting with      Partner     F                 507.50 Lumped
                                                                         team regarding same.
Disputes With3/8/2017    Wallace, Judith                  1     $575.00 Conference with Ms. Mann regarding legal and factual issues for oral argument; conference with Mr.         Partner     F                 287.50 Lumped
                                                                         Ruffi on declarations.
Disputes With3/8/2017    Mann, Pamela A.             4.5       $3,262.50 Review trustee papers, case law, background materials and discussion with team, client regarding          Partner     F                2,900.00 Lumped
                                                                         same; attention to e-mails regarding same.
Disputes With3/8/2017    Mann, Pamela A.             1.5       $1,087.50 Attention to e-mails regarding discovery, response to B. Mintz; draft and revise e-mails regarding same   Partner     F                 725.00 Lumped
                                                                         and related discussion with team members; meet with Mr. Steckel regarding related issues.
Disputes With3/10/2017   Ruffi, Dylan L.             0.9        $256.50 Prepared for hearing attendance, printing materials and filing amended notice of agenda; conferred         Associate   F                 114.00 Lumped
                                                                         with Ms. Wallace and Mr. Trivigno regarding same.
Disputes With3/10/2017   Trivigno, Leonardo          2.7       $1,350.00 Review motion papers ahead of hearing on 2004 motion and motion to appoint a trustee; discussion          Counsel     F                1,100.00 Lumped
                                                                         with Mr. Cahn regarding same.
Disputes With3/10/2017   Mann, Pamela A.             2.5       $1,812.50 Review notes, presentation outline, case authorities in preparation for hearing on trustee motion;        Partner     F                1,450.00 Lumped
                                                                         review papers for court appearance on 2004 motion; confer with team regarding same.
Disputes With3/13/2017   Steckel, Jeremy S.          1.7         $637.50 Review and comment to WW response to HMS letter regarding document production; speak with Mr.             Associate   F                 450.00 Lumped
                                                                         Trivigno regarding same.
Disputes With3/13/2017   Wallace, Judith             0.9        $517.50 Discuss next steps with Mr. Trivigno; review discovery response and orders and respond to team by e-       Partner     F                 230.00 Lumped
                                                                         mail regarding instructions to client.
Disputes With3/15/2017   Ruffi, Dylan L.             1.3        $370.50 Reviewed and revised letter response to request for document production; conferred with Mr. Trivigno       Associate   F                 228.00 Lumped
                                                                         regarding same; reviewed documents to be produced.
Disputes With3/16/2017   Trivigno, Leonardo          1.4         $700.00 Revise draft confidentiality stipulation; confer with team regarding same.                                Counsel     F                 450.00 Lumped
Disputes With3/16/2017   Cahn, Aaron R.                1        $700.00 Review correspondence and draft confidentiality agreement and letter to UST; confer Ms. Wallace and        Counsel     F                 350.00 Lumped
                                                                         Mr. Trivigno regarding same.
Disputes With3/20/2017   Ruffi, Dylan L.             0.9        $256.50 Reviewed 2015 financial documents; conferred with Mr. Trivigno regarding same; met with Mr.                Associate   F                 114.00 Lumped
                                                                         Borenstein regarding redaction of documents; corresponded with Mr. Borenstein regarding same.
Disputes With3/21/2017   Trivigno, Leonardo          0.9         $450.00 Meet with Mr. Borenstein regarding production of documents; meet with Mr. Ruffi regarding same.           Counsel     F                 200.00 Lumped

Disputes With3/22/2017   Ruffi, Dylan L.               3         $855.00 Reviewed documents for production; redacted various items; reported to Mr. Trivigno.                      Associate   F                 712.50 Lumped
Disputes With3/22/2017   Mann, Pamela A.             0.8         $580.00 Review e-mails regarding intervention motion on appeal, next steps; communicate with Ms. Wallace          Partner     F                 217.50 Lumped
                                                                         regarding same.
Disputes With3/24/2017   Mann, Pamela A.             1.2         $870.00 Attention to various e-mails regarding intervention on appeal and draft responses regarding same;         Partner     F                 507.50 Lumped
                                                                         related discussion with Ms. Wallace.
Disputes With3/27/2017   Mann, Pamela A.             1.3         $942.50 Draft various e-mails to client regarding HMS opposition to current motions, next steps;                  Partner     F                 580.00 Lumped
                                                                         communications with team regarding same.
Disputes With3/28/2017   Borenstein, Bill            0.8         $220.00 Discussions regarding production details; review Appeal documents regarding redaction issues; draft       Legal Assist F                 82.50 Lumped
                                                                         instructions to vendor.
Disputes With3/29/2017   Mann, Pamela A.             0.8         $580.00 Attention to e-mails from client regarding intervention issue and call with him regarding same;           Partner     F                 217.50 Lumped
                                                                         discussion with Ms. Wallace regarding same and attention to further e-mails.
Disputes With3/29/2017   Mann, Pamela A.                  1      $725.00 Review various e-mails, drafts regarding discovery issues; discussion with Mr. Steckel regarding meet     Partner     F                 362.50 Lumped
                                                                         and confer, next steps.
Disputes With3/30/2017   Peters, Justin L            3.7       $1,147.00 Discussion with Mr. Steckel regarding grant document production; reviewed grant documents.                Associate   F                 992.00 Lumped




                                                                                                                3
                                             16-13607-smb      Doc 184             Filed 06/20/17 Entered 06/20/17 12:12:16                                                            Main Document
                                                                                        Carter Ledyard Milburn
                                                                                                   Pg 10  of 11LLP

  PROJECT        DATE              TIMEKEEPER      HOURS        AMOUNT                                                  DESCRIPTION                                                     CLASSIF         EXP/FEE   REDUCTION COMMENT
Disputes With4/11/2017    Leff, Mara                       2     $570.00 Redact documents to be produced; confer with Messrs. Trivigno, Peters, and Steckel regarding same.            Legal Assist F                427.50 Lumped

Disputes With4/13/2017    Peters, Justin L              1         $310.00 Prepared files for production; discussion regarding new production of documents.                             Associate   F                  155.00 Lumped
Disputes With4/17/2017    Peters, Justin L            4.7       $1,457.00 Reviewed documents for production; discussion regarding same with Mr. Steckel.                               Associate   F                1,302.00 Lumped
Disputes With4/22/2017    Peters, Justin L              2        $620.00 Reviewed financial documents; discussion with Mr. Steckel and attention to e-mails regarding same.            Associate   F                  465.00 Lumped

Disputes With4/23/2017    Peters, Justin L                 3      $930.00 Reviewed financial documents; discussion with Mr. Steckel and WonderWork staff regarding same; e-            Associate   F                 775.00 Lumped
                                                                          mail communications regarding same.
Disputes With4/27/2017    Leff, Mara                    4       $1,140.00 Redact documents; confer with Mr. Trivigno and IT regarding various; arrange for production.                 Legal Assist F                 997.50 Lumped
Plan and Disc 4/3/2017    Peters, Justin L            2.3         $713.00 Reviewed grant documents; telephone call with Mr. Steckel and WonderWork grant staff.                        Associate F                    558.00 Lumped
Plan and Disc 4/26/2017   Cahn, Aaron R.              2.4       $1,680.00 Continue revise motion to extend exclusivity; review internal comments; telephone chambers for               Counsel      F               1,330.00 Lumped
                                                                          motion date.
Financing    1/26/2017    Trivigno, Leonardo          1.2         $600.00 Research case law and complete draft 345 motion; related conference with Mr. Cahn.                           Counsel     F                  350.00 Lumped
Financing    4/25/2017    Mann, Pamela A.             2.5       $1,812.50 Conference call with client regarding proposed budget next steps, order setting controls, cash               Partner     F                1,450.00 Lumped
                                                                          management order; review and revise unanimous written consent and transmit to client; attention to
                                                                          numerous e-mails regarding budget, other open issues.
Business Ope 4/24/2017    Mann, Pamela A.                  1      $725.00 Draft e-mails to client regarding use of invested funds; draft and revise e-mail to court regarding effect   Partner     F                 362.50 Lumped
                                                                          of putting DIP status on correspondence, cash management order.
Tax Issues   3/10/2017    Mann, Pamela A.             0.8         $580.00 Attention to e-mails regarding court appearance, next steps, open issues; update from Mr. Steckel            Partner     F                 217.50 Lumped
                                                                          regarding IRS issue.
Tax Issues   3/13/2017    Gerson, Anne K.             0.6         $285.00 Attention to summary of oral argument; discuss inquiry from IRS with Mr. Steckel.                            Counsel     F                  47.50 Lumped
Tax Issues   3/14/2017    Steckel, Jeremy S.          1.7         $637.50 Telephone call to IRS regarding tax returns; speak with H. Fuchs regarding same; e-mail                      Associate   F                 450.00 Lumped
                                                                          correspondence with prior auditors and H. Fuchs regarding Form 940 for 2011; draft letter to IRS
                                                                          regarding same.
Examiner Issu3/31/2017    Trivigno, Leonardo          4.9       $2,450.00 Begin revisions to draft response to motion to appoint examiner; related discussion with Mr. Peters.         Counsel     F                2,200.00 Lumped

Examiner Issu3/31/2017    Peters, Justin L            3.4       $1,054.00 Researched case law regarding examiners; discussion regarding same with Mr. Trivigno.                        Associate   F                 899.00 Lumped
Examiner Issu4/4/2017     Mann, Pamela A.             1.3         $942.50 Revise further draft of papers regarding appointment of an examiner and related discussion with Mr.          Partner     F                 580.00 Lumped
                                                                          Trivigno; attention to related e-mails to and from client regarding same.
Examiner Issu4/5/2017     Mann, Pamela A.             3.5       $2,537.50 Review comments from client on draft examiner motion and discussion with Mr. Trivigno regarding              Partner     F                2,175.00 Lumped
                                                                          same; e-mails and discussion with client, team regarding finalizing papers; review and approve papers
                                                                          for filing and transmit same to client; review HMS papers and discussion with team, client regarding
                                                                          same.
Examiner Issu4/12/2017    Mann, Pamela A.               2       $1,450.00 Attend court conference; argue examiner motion, related matters.                                             Partner     F                1,087.50 Lumped
Examiner Issu4/21/2017    Steckel, Jeremy S.          2.7       $1,012.50 Review Court order regarding appointment of examiner and requirements therein; discuss same with             Associate   F                  825.00 Lumped
                                                                          Ms. Mann and Mr. Trivigno; e-mail correspondence with B. Mullaney and H. Fuchs regarding same.

                                                                                                                                                                                                                   92,048.50

Case Adminis 12/6/2016    Cahn, Aaron R.              0.8        $540.00 Call with board of directors.                                                                                 Counsel     F                 540.00 Vague
Case Adminis 1/6/2017     Trivigno, Leonardo          0.3        $150.00 Call with Mr. Ruffi; e-mail to Ms. Mann concerning meeting with client to discuss restricted funds            Counsel     F                 150.00 Vague
                                                                         analysis.
Case Adminis 1/13/2017    Ruffi, Dylan L.               0          $0.00 Call with K. Lazarus; follow-up with Mr. Trivigno.                                                            Associate   F                   0.00 Vague
Case Adminis 2/1/2017     Ruffi, Dylan L.             1.5        $427.50 Review of restricted funds and supporting documents on file (0.60); conferred with Mr. Steckel                Associate   F                 427.50 Vague
                                                                         regarding restricted gifts, data storage (0.50); calls with K. Lazarus (0.40).
Case Adminis 3/29/2017    Ruffi, Dylan L.             0.2         $57.00 Prepared for call with K. Lazarus and others.                                                                 Associate F                     57.00 Vague
Disputes With4/11/2017    Borenstein, Bill            0.2         $55.00 E-mails, discussion, update production files.                                                                 Legal Assist F                  55.00 Vague
Case Adminis 2/8/2017     Cahn, Aaron R.              0.2        $140.00 Correspond Thompson counsel.                                                                                  Counsel      F                 140.00 Vague
                                                                                                                                                                                                                    1,369.50

Case Adminis 1/20/2017    Ruffi, Dylan L.             0.4        $114.00 Meeting with Mr. Steckel regarding restricted funds and most recent donor solicitations.                      Associate   F                        Mismatched time entry with
                                                                                                                                                                                                                            Timekeeper Steckel
Case Adminis 1/20/2017    Steckel, Jeremy S.          0.9        $337.50 Meetings with Mr. Ruffi to discuss restricted funds analysis (0.70); meet with Ms. Mann to discuss            Associate   F                 168.75 Mismatched time entry with
                                                                         same (0.20).                                                                                                                                       Timekeeper Ruffi and no
                                                                                                                                                                                                                            matching time entry for
                                                                                                                                                                                                                            Timekeeper Mann

Disputes With2/9/2017     Wallace, Judith             0.2        $115.00 Telephone conference with Ms. Mann on issues for memorandum of law for trustee motion.                        Partner     F                           Mismatch time entry with
                                                                                                                                                                                                                               Timekeeper Mann




                                                                                                                   4
                                          16-13607-smb      Doc 184           Filed 06/20/17 Entered 06/20/17 12:12:16                                                      Main Document
                                                                                   Carter Ledyard Milburn
                                                                                              Pg 11  of 11LLP

 PROJECT        DATE             TIMEKEEPER     HOURS        AMOUNT                                               DESCRIPTION                                                CLASSIF          EXP/FEE   REDUCTION COMMENT
Disputes With2/9/2017    Mann, Pamela A.           3.5       $2,537.50 Review background materials on trustee motion, HMS's motion papers, cases, etc. in order to    Partner             F                797.50 Mismatch time entry with
                                                                       comment on draft memorandum of law (1.90); review draft memorandum and related discussion with                                             Timekeeper Wallace - lumped
                                                                       Ms. Wallace (1.60).                                                                                                                        time entry (1.60) reduced to
                                                                                                                                                                                                                  .5

Case Adminis 2/23/2017   Cahn, Aaron R.            0.6        $420.00 Confer with Mr. Trivigno regarding preparation of monthly operating report and accounting issues.     Counsel       F                420.00 No matching time entry

Case Adminis 2/23/2017   Cahn, Aaron R.            0.8        $560.00 Review declarations and confer with Ms. Wallace regarding declaration exhibits (0.40); confer with Mr. Counsel      F                       Mismatched time entry with
                                                                      Trivigno regarding proposed schedule for exchange of exhibits (0.40).                                                                       Timekeeper Trivigno
Case Adminis 2/23/2017   Trivigno, Leonardo             1     $500.00 Confer with Mr. Cahn regarding proposed schedule for exchange of exhibits.                             Counsel      F                300.00 Mismatched time entry with
                                                                                                                                                                                                                  Timekeeper Cahn

Case Adminis 3/31/2017   Mann, Pamela A.           2.2       $1,595.00 Review questions from B. Mullaney regarding upcoming board meeting and timing, tactics for balance Partner         F                          Mismatched time entry with
                                                                       of bankruptcy (1.40); discussion with Mr. Cahn regarding same (0.40); discussion with B. Mullaney                                             Timekeeper Cahn
                                                                       regarding same (0.40).
Disputes With3/31/2017   Cahn, Aaron R.            1.2        $840.00 Confer Ms. Mann regarding strategy for examiner motion and plan proposals.                          Counsel         F                560.00 Mismatched time entry with
                                                                                                                                                                                                                  Timekeeper Mann

Case Adminis 4/4/2017    Cahn, Aaron R.            1.2        $840.00 Confer with Mr. Trivigno regarding discovery status and amendments to schedules and statement of      Counsel       F                        No matching time entry for
                                                                      affairs (0.70); conferences with Ms. Mann regarding auditor and plan issues (0.50).                                                  $490.00 Timekeeper Trivigno
                                                                                                                                                                                                          2,736.25

                                                                                                                                                                            Grand Total                  96,154.25




                                                                                                            5
